           Case 5:15-cv-00817-DSF-SP Document 109 Filed 11/05/20 Page 1 of 2 Page ID #:2192



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                                                UNITED STATES DISTRICT COURT
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                                               CENTRAL DISTRICT OF CALIFORNIA
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             11 JOSHUA FRANKLIN SNYDER,                                 CASE NO. 5:15-CV-00817-DSF (SPx)
             12          Plaintiff,                                     ORDER GRANTING
                                                                        STIPULATION TO DISMISS WITH
             13             vs.                                         PREJUDICE
             14 RIVERSIDE COUNTY,
                et al.,
             15
                         Defendants.
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             17
             18            GOOD CAUSE APPEARING AND THE PARTIES HAVING
             19 STIPULATED THERETO, IT IS ORDERED, ADJUDGED AND DECREED:
             20            1.          The Complaint, in its entirety and as to each and every claim for relief
             21 and any and all defendants, is dismissed with prejudice.
             22            2.          The settlement is further memorialized in a written settlement
             23 agreement.
             24            3.          The parties shall bear their own costs, expenses and attorneys’ fees
             25 arising out of and/or connected with this matter, including any such fees or expenses
             26 potentially recoverable under 42 U.S.C. Sec. 1988.
             27            ///

LEWI         28            ///
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BRISBOI           4846-7516-7952.1                                  1
S                                    [PROPOSED] ORDER GRANTING STIPULATION TO DISMISS WITH PREJUDICE
BISGAARD
           Case 5:15-cv-00817-DSF-SP Document 109 Filed 11/05/20 Page 2 of 2 Page ID #:2193




              1            4.          This Order is the result of a compromise of disputed claim. It is not to
              2 be considered as an admission of liability and/or responsibility with regard to the
              3 incident, occurrence, casualty or event referenced in the pleadings herein.
              4            5.          The parties agree that the mediator shall retain jurisdiction for the
              5 purpose of enforcement of the terms of the settlement agreement between the
              6 parties.
              7            IT IS SO ORDERED, ADJUDGED AND DECREED.
              8
              9 DATED: November 5, 2020
             10
                                                               By:
             11                                                      Honorable Sheri Pym
                                                                     United States Magistrate Judge
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BRISBOI           4846-7516-7952.1                                   2
S                                    [PROPOSED] ORDER GRANTING STIPULATION TO DISMISS WITH PREJUDICE
BISGAARD
